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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

BRIAN FISHER, et al.,

       Plaintiffs,
                                                   Case No. 23-cv-10426
v.                                                 Hon. Matthew F. Leitman

FCA US LLC,

     Defendant.
__________________________________________________________________/

       ORDER TERMINATING DEFENDANT’S MOTION TO DISMISS
     PLAINTIFFS’ CLASS ACTION COMPLAINT (ECF No. 13) WITHOUT
                        PREJUDICE AS MOOT

       On February 17, 2023, Plaintiffs Brian Fisher, Eric Lee, Jerry Vanderberg,

and Rachel Walkowicz filed this putative class action against Defendant FCA US,

LLC (“FCA”). (See Compl., ECF No. 1.) Plaintiffs allege, among other things, that

the “eTorque” motor systems in their FCA vehicles, which are intended to improve

the Class Vehicles’ fuel efficiency, suffer from a dangerous defect that causes the

vehicles’ engines to turn off, their transmissions to shift to “Park”, and/or their

emergency brakes to engage unexpectedly. (See id., PageID.19) On April 21, 2023,

FCA filed a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6).

(See Mot. to Dismiss, ECF No. 13.)




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      On April 24, 2023, without expressing any view on the merits of the motion

to dismiss, the Court entered an order granting Plaintiffs leave to file a First

Amended Complaint in order to remedy the alleged deficiencies in their claims

identified by FCA in its motion to dismiss. (See Order, ECF No. 17.) The Court

informed the parties that if Plaintiffs decided to file a First Amended Complaint, it

would terminate FCA’s motion to dismiss without prejudice. (See id.)

      On May 2, 2023, Plaintiffs filed a notice with the Court that they intend to file

a First Amended Complaint. (See Notice, ECF No. 18.) Accordingly, because

Plaintiffs will be filing a First Amended Complaint, the Court TERMINATES

FCA’s motion to dismiss (ECF No. 13) WITHOUT PREJUDICE AS MOOT.

FCA may re-file a motion to dismiss directed at the First Amended Complaint if it

believes that such a motion is appropriate after reviewing that pleading.

      IT IS SO ORDERED.

                                       s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE

Dated: May 3, 2023

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on May 3, 2023, by electronic means and/or ordinary mail.

                                       s/Holly A. Ryan
                                       Case Manager
                                       (313) 234-5126




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